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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SEBASTIAN CORDOBA, and RENÉ               )
ROMERO, individually and on behalf        )
of all others similarly-situated,         )
                                          )
                   Plaintiffs,            )     CIVIL ACTION FILE NO.:
                                          )
vs.                                       )     1:15-CV-03755-MHC
                                          )
DIRECTV, LLC, individually and as         )
successor through merger to DIRECTV,      )
Inc.,                                     )
                                          )
                   Defendant.             )
                                          )


      PLAINTIFFS’ OPPOSITION TO DIRECTV’S MOTION TO COMPEL
               ARBITRATION AND TO STAY LITIGATION
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I.    INTRODUCTION

      Years into this federal class action lawsuit, DIRECTV violated the privacy

of Plaintiff René Romero and 9,100 absent class members by disclosing their

private consumer information in violation of section 338 of the Communications

Act of 1934 (hereinafter, the Satellite Television Extension and Localism Act

(“STELA”), 47 U.S.C. § 338). DIRECTV admitted, and the Court found, that

DIRECTV disclosed this private consumer information to a paid witness in this

case. In permitting Plaintiffs to add this STELA claim, the Court flatly refused to

construe STELA in a manner that would “give satellite carriers carte blanche to

disclose confidential customer data to non-parties during litigation.” Dkt. 142

(“STELA Order”) at 18.

      DIRECTV now seeks that very carte blanche. Having violated the STELA-

protected privacy rights of Mr. Romero (and some 9,100 others) by its conduct in

this litigation, DIRECTV seeks to force that claim out of court and into individual

arbitration, moving to compel arbitration under a customer agreement that, by its

plain terms, governs only the “receipt of and payment for DIRECTV service.” It is

difficult to conceive how such a result furthers the purpose or structure of the

Federal Arbitration Act, or comports with basic notions of contract interpretation

or even Due Process.

      Plaintiffs submit that the motion should be denied for three reasons.



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      First, DIRECTV fails to meet its evidentiary burden to show that Mr.

Romero agreed to arbitrate his STELA claim. DIRECTV’s declarant simply does

not establish that Mr. Romero received or agreed to the 2015 or 2016 DIRECTV

Customer Agreements (he does not dispute receiving the 2014 agreement). And,

even if he had, this language does not form an arbitration agreement because a

reasonable consumer would only agree to arbitrate claims relating to the services

he paid for, not claims under a federal statute protecting consumer privacy. See

Wexler v. AT&T Corp., 211 F. Supp. 3d 500, 504 (E.D.N.Y. 2016).

      Second, as the Eleventh Circuit recently confirmed, the STELA claim is

beyond the scope of any DIRECTV customer agreement. See Gamble v. New

England Auto Fin., Inc., No. 17-15343, 2018 WL 2446607, at *2 (11th Cir.

May 31, 2018) (per curiam) (holding, based on an arbitration clause’s plain

language, that a federal statutory TCPA claim fell outside its scope); Holcombe v.

DIRECTV, LLC, 159 F. Supp. 3d 1337, 1340 (N.D. Ga. 2016) (same). This is

particularly true where, as here, the STELA claim arose based solely on

DIRECTV’s conduct in this litigation, not the provision of any product or service.

The claim, therefore, is not related to nor governed by any customer agreement

between Mr. Romero and DIRECTV.

      Third, the arbitration clauses are not enforceable because they are

procedurally and substantively unconscionable.



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      Finally, a stay of the STELA claim is not warranted because DIRECTV’s

motion is not “clearly meritorious” – quite the contrary.

II.   BACKGROUND

      A.     Procedural History.
      On October 27, 2015, Plaintiff Sebastian Cordoba filed this class action

against DIRECTV challenging telemarketing calls by Telecel on DIRECTV’s

behalf. Class Action Compl., Dkt. 1. On July 12, 2017, this Court certified an

Internal Do Not Call Class (“IDNC Class”) and a National Do Not Call Class

(“NDNC Class”). Cordoba v. DirecTV, LLC, 320 F.R.D. 582 (N.D. Ga. 2017).

      In an attempt to defeat IDNC and NDNC Class members’ claims, DIRECTV

created a data file containing the private information of approximately 9,100

consumers, including Mr. Romero, then an unnamed IDNC class member, and then

shared this “Matched Accounts List” with its paid witness, Debra J. Aron. See

Expert Report of Dr. Debra J. Aron, Dkt. 70-9, ¶ 24.

      STELA prohibits satellite carriers like DIRECTV from disclosing

“personally identifiable information concerning any subscriber without the prior

written or electronic consent of the subscriber concerned.” DIRECTV admitted

that “the data relied on by Dr. Aron to identify DIRECTV customers contains

private customer information subject to strict disclosure restrictions under

[STELA].” Def.’s Opp’n to Pl.’s Objs. to the Expert Report of Debra Aron, Dkt.



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79 at 1. In its Class Certification Order, this Court found that “DIRECTV’s

disclosure of the Matched Account List to Dr. Aron, a non-party to this litigation,

did not fall within any of the [STELA] exceptions permitting disclosure of data.”

Cordoba, 320 F.R.D. at 593 n.8.

      On May 30, 2018, the Court granted Plaintiff Cordoba’s motion for leave to

bring a STELA claim. See STELA Order. In response to DIRECTV’s argument

that DIRECTV’s disclosure of private consumer information was “necessary to

render, or conduct a legitimate business activity related to, a satellite service or

other service provided by the satellite carrier to the subscriber” within the meaning

of STELA, the Court found that there was “no authority to support this broad

reading of the statute.” Id. at 18. The Court explained:

      Not only would DIRECTV’s construction of [STELA] give satellite
      carriers carte blanche to disclose confidential customer data to non-
      parties during litigation; more broadly, it would allow them to
      characterize nearly any activity as necessary to render, or conduct a
      legitimate business activity related to, a satellite service or other
      service provided by the satellite carrier to the subscriber. In the
      absence of any limiting principle, case law, or other authority, the
      Court declines to interpret STELA in such a way. Id.
DIRECTV also submitted the same 2014 Customer Agreement at issue here and

the Court found that “DIRECTV has failed to provide any evidence that Mr.

Romero agreed to the unauthenticated customer agreement attached to

DIRECTV’s opposition; therefore, the agreement is not properly before the Court.”

Id. at 16-17. Accordingly, the Court found that DIRECTV’s arguments were


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“premature” until “the summary judgment phase.” Id. at 15, 17.1

       On June 21, 2018, the Court denied DIRECTV’s request to stay this case

pending its appeal of the IDNC Class certification. Dkt. 151. The Court ordered

the case to proceed and noted that “the steps necessary to prepare these [NDNC

and STELA] classes for trial (including class notice, discovery, and the filing of

any pretrial motions) appear to be relatively straightforward.” Id.

       Yet, only two weeks later, on July 5, 2018, DIRECTV moved to compel

arbitration of Mr. Romero’s STELA claim and stay it pending the outcome of

arbitration proceedings. See Dkt. 154.

       B.      The Purported Arbitration Clauses.
       DIRECTV argues that Mr. Romero agreed to the arbitration clause in its

Customer Agreement (the “2014 Customer Agreement”) when he signed up for

DIRECTV service in November 2014 and that he subsequently agreed to the

arbitration clauses in DIRECTV’s 2015 and 2016 Customer Agreements prior to

cancelling DIRECTV service in April 2017. Each of the Customer Agreements

“DESCRIBES THE TERMS AND CONDITIONS OF YOUR RECEIPT OF AND

PAYMENT FOR DIRECTV SERVICE.” See Dkt. 154-2, Exs. 2-4.

       While Plaintiff does not believe that DIRECTV has met its evidentiary

burden, see STELA Order at 16-17 (“DIRECTV has failed to provide any evidence
1
  The Court accordingly denied as moot DIRECTV’s motion for leave to file a surreply
regarding its argument that Mr. Romero’s claims should be in arbitration. Id. at 17 n.6.



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that Romero agreed to the unauthenticated customer agreement attached to

DIRECTV's opposition; therefore, the agreement is not properly before the

Court.”), Plaintiff has no reason to doubt DIRECTV’s assertion that it sent him a

customer agreement at account origination. The 2014 Customer Agreement that

DIRECTV claims it sent to Mr. Romero contains a narrow arbitration clause that is

explicitly limited to “any legal or equitable claim relating to this Agreement.” Dkt.

154-2, Ex. 2 § 9. The 2014 (and 2015) arbitration clauses expressly exclude “any

dispute involving a violation of the Communications Act of 1934.” Id.

       The 2016 Customer Agreement contains a broader arbitration clause. But

Mr. Romero has no record of receiving an email or mailed copy of DIRECTV’s

2016 (or 2015) Customer Agreements.

III.   LEGAL STANDARD

       A “summary judgment-like” standard governs a motion to compel

arbitration. In re Checking Account Overdraft Litig., 754 F.3d 1290, 1294 (11th

Cir. 2014); see also Flagg v. First Premier Bank, 1:15-CV-324-MHC, 2015 WL

10906066, at *4 (N.D. Ga. Aug. 26, 2015) (same). Particularly where, as here, the

complaint does not “establish on its face that the parties agreed to arbitrate,” and

the moving party relies on evidence, the motion is “judged under the Rule 56

standard.” Guidotti v. Legal Helpers Debt Resolution, L.L.C., 716 F.3d 764, 774

(3d Cir. 2013). As with any summary judgment analysis, the non-moving party is



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entitled to “the benefits of all reasonable doubts and inferences that may arise.”

Regan v. Stored Value Cards, Inc., 85 F. Supp. 3d 1357, 1360 (N.D. Ga. 2015)

(internal quotations omitted). Specifically, “[a] genuine dispute of fact concerning

contract formation precludes a court from deciding as a matter of law that the

parties did or did not enter into an agreement to arbitrate.” Id.

       In the Eleventh Circuit, district courts take a “preliminary peek” at a motion

to compel arbitration to determine whether discovery ought to be stayed pending

the motion’s resolution. See Eternal Strategies, LLC v. Clickbooth Holdings, Inc.,

8:17-cv-1298-T-36MAP, 2017 WL 7311849, at *2 (M.D. Fla. Sept. 20, 2017)

(“From a preliminary look, it appears that Defendants’ motions [to compel

arbitration] are not so clearly meritorious as to justify a discovery stay.”); see also

Flecha v. Neighbors Moving Servs., Inc., 944 F. Supp. 2d 1201, 1203 (S.D. Fla.

Mar. 7, 2013) (“Under such circumstances, it is proper for the Court to permit

discovery to proceed.”).

IV.    ARGUMENT

       A.     Mr. Romero Did Not Assent to the 2015 or 2016 Arbitration
              Clauses.
       Arbitration is a matter of contract, and a court cannot require a party to

arbitrate a dispute unless the party has contracted to do so.2 See, e.g., Stolt-Nielsen

2
  Although Mr. Romero’s claim arises under a federal statute (STELA), federal courts
“generally apply ordinary state-law principles that govern the formation of contracts to assess
                                                                  Footnote continued on next page


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S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 681 (2010) (“arbitration is a matter

of consent, not coercion”) (internal quotations omitted). The “basic objective” of

courts in deciding whether a dispute is arbitrable is to ensure that “arbitration

agreements, like other contracts, are enforced according to their terms and

according to the intentions of the parties.” First Options of Chicago Inc. v.

Kaplan, 514 U.S. 938, 947 (1995) (internal citations omitted). Accordingly,

“courts look for evidence that the parties objectively revealed an intent to submit

the [particular] dispute to arbitration.” Dasher v. RBC Bank (USA), 745 F.3d 1111,

1116 (11th Cir. 2014) (internal quotations omitted).

       Under Maryland law,3 “whether there is an agreement to arbitrate the

parties’ dispute is a legal question of contract interpretation…When the existence

of an arbitration agreement is in dispute, that dispute must be resolved by a court.”

Mattingly v. Hughes Electronics Corp., 810 A.3d 498, 503-04 (Md. Ct. Spec. App.

2002) (internal citations omitted). “When there is a dispute of fact material to

determining whether there is an agreement to arbitrate, the court resolves that

dispute before determining whether the agreement to arbitrate exists.” Id. at 504.
Footnote continued from previous page
whether the parties agreed to arbitrate a certain matter (including arbitrability).” Rent-A-Center,
West, Inc. v. Jackson, 561 U.S. 63, 79 (2010) (internal quotations omitted).
3
   DIRECTV’s 2014, 2015, and 2016 Customer Agreements state that the “interpretation and
enforcement of this Agreement and any disputes related to your agreements or service with
DIRECTV shall be governed by the rules and regulations of the Federal Communications
Commission, other applicable federal laws, and the laws of the state and local area where Service
is provided to you.” See Dkt. 154-2, Ex. 2, § 10(b); Dkt. 154-2, Ex. 3, § 10(b); Dkt. 154-2, Ex.
4, § 10(b). At all relevant times, Mr. Romero resided in Maryland.



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      Accordingly, for any arbitration agreement to be binding on Mr. Romero,

DIRECTV must show (1) that there is no dispute of fact material to determine

whether there is an agreement to arbitrate and (2) a mutual manifestation of assent

to arbitrate the particular dispute. See, e.g., Granite Rock Co. v. Int’l Bhd. of

Teamsters, 561 U.S. 287, 299 (2010) (“Arbitration is strictly a matter of consent,

and thus is a way to resolve those disputes—but only those disputes—that the

parties have agreed to submit to arbitration.”) (internal quotations and citations

omitted). DIRECTV cannot make either showing and its motion should therefore

be denied.

          1. Romero Never Received DIRECTV’s 2015 or 2016 Customer
             Agreements.

      DIRECTV’s assertion that Mr. Romero received Customer Agreements in

June 2015 and June 2016 is based on nothing more than the generic statement that

DIRECTV purportedly sends updated Customer Agreements to its customers.

Mot. at 4 (citing Lateef Decl., Dkt. 70-7 ¶¶ 4-6 (“In 2012, DIRECTV began e-

mailing the updated Customer Agreements to all customers with valid e-mail

addresses. If DIRECTV does not have a valid e-mail address for a customer or a

customer chooses not to receive e-mail from DIRECTV, DIRECTV mails the

updated Customer Agreement to the customer.”)). DIRECTV has no specific

evidence that it ever sent these Customer Agreements to Mr. Romero—in fact,

even the unsupported language in its brief, “DIRECTV sent Mr. Romero a copy of


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each updated version,” Mot. at 4, makes clear that DIRECTV does even know

how it purportedly sent the updated agreements to Mr. Romero. Mr. Romero does

not have any record of receiving an email or mailed copy of DIRECTV’s 2015 or

2016 Customer Agreements.

       Because a genuine dispute of material fact exists with respect to Mr. Romero

ever receiving DIRECTV’s 2015 or 2016 Customer Agreements, much less

accepting them, the motion should be denied. See Brent v. Priority 1 Auto. Grp.,

BMW of Rockville, 98 F. Supp. 3d 833, 837-38 (D. Md. 2015) (“[A] genuine

dispute exists regarding this fact, as Defendant provides evidence of Plaintiff’s

acceptance of the Arbitration Agreement, and Plaintiff questions the reliability of

some of that evidence and provides evidence that she did not accept it.”); see also

Whitten v. Apria Healthcare Grp., Inc., 2015 WL 2227928, at *4 (D. Md. May 11,

2015) (similar). 4

           2. Romero Never Assented to DIRECTV’s 2015 or 2016 Arbitration
              Clauses.

       DIRECTV makes the amorphous argument that Mr. Romero’s “conduct”

(i.e., paying his bills and not cancelling DIRECTV service) indicates some sort of

implied assent to arbitrate his STELA claim. Mot. at 12-15. However, this


4
  Therefore, DIRECTV’s motion is, at best, “premature” until the parties conduct full discovery
of their respective records regarding this disputed issue. See STELA Order at 15, 17 (finding
that DIRECTV’s arguments regarding its Customer Agreement were “premature” until “the
summary judgment phase”).



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silence-equals-consent argument fails. See, e.g., In re Crescent City Estates, LLC,

588 F.3d 822, 825 (4th Cir. 2009) (“In short, silence does not equal consent).5

This is particularly true with respect to the 2016 Customer Agreement which

contains substantially changed terms about which Mr. Romero was not notified

(and was the purportedly operative agreement when DIRECTV disclosed to Ms.

Aron). Mattingly, 810 A.3d at 507 (“In order for the offeree’s silence to be an

assent to the revised terms of the contract… the offeree must have had actual or

constructive knowledge that there was a proposal to change the contract terms.”).

       The cases DIRECTV cites involved plaintiffs who actually received the

contract terms defendants sought to enforce. 6 DIRECTV presents no evidence that

Mr. Romero received the 2015 or 2016 Customer Agreements. 7

5
   DIRECTV cites cases under Georgia law. Mot. at 12-13. However, its Agreements with Mr.
Romero follow Maryland law. See supra footnote 3. Under Maryland law, because Mr. Romero
never received the Customer Agreement—DIRECTV’s offer—there is no agreement. See Jay
Dee/Mole Joint Venture v. Mayor and City Council of Baltimore, 725 F. Supp. 2d 513, 523 (D.
Md. 2010) (“the offer must be certain and definite, and the acceptance must in every respect
meet and correspond with the offer.”).
6
   See Mot. at 13-14 (citing Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 593-95 (1991)
(ticket contained forum selection clause); Hill v. Gateway 2000, Inc., 105 F.3d 1147, 1148-50
(7th Cir. 1997) (plaintiff received terms of conditions containing arbitration clause); Williams v.
MetroPCS Wireless, Inc., 2010 WL 1645099, at *6 (S.D. Fla. Apr. 21, 2010) (same); Schwartz v.
Comcast Corp., 256 F. App’x 515, 518-20 (3d Cir. 2007) (unrebutted evidence found that
demonstrated plaintiff was aware of subscription agreement and its arbitration clause)).
7
   The cases DIRECTV cites involving itself similarly involved plaintiffs who actually received
the customer agreements. Mot. at 14-15 (citing Wijesinha v. DIRECTV, LLC, 2016 WL
10906449, at *2 (S.D. Fla. Sept. 29, 2016) (received agreement); Joaquin v. DIRECTV Grp.
Holdings, Inc., 2016 WL 4547150, at *3 (D. N.J. Aug. 30, 2016) (plaintiff did not point to facts
to call agreement to arbitrate into issue); Ferrie v. DIRECTV, LLC, 2016 WL 183474, at *3-*11
(D. Conn. Jan. 12, 2016) (evidence that customer agreement mailed to plaintiff’s specific
address); Clements v. DIRECTV, LLC, 2014 WL 1266834, at *3 (W.D. Ark. Mar. 26, 2014)
                                                                   Footnote continued on next page


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           3. The 2016 Customer Agreement Did Not Form Any Agreement to
              Arbitrate Privacy Claims Arising in Litigation.

       In 2016, another court analyzed the very same arbitration clause in

DIRECTV’s 2016 Customer Agreement in a TCPA case between a plaintiff and

AT&T, DIRECTV’s parent company. See Wexler, 211 F. Supp. 3d at 504.

Applying contract principles, including judging the words of the arbitration

agreement according “to what an objective, reasonable person would have

understood them to mean,” the court found that the parties could not have formed a

contract because the arbitration clause is unconscionably overbroad and because

“no reasonable person would think that checking a box accepting the ‘terms and

conditions’ necessary to obtain cell phone service would obligate them to arbitrate

literally every possible dispute he or she might have with the service provider[.]”.

Id. (internal citations omitted). “Rather, a reasonable person would be expressing,

at most, an intent to agree to arbitrate disputes connected in some way to [his or

her] service agreement[.]” Id.

       In Wexler, AT&T attempted to enforce the very same arbitration clause in

the 2016 Customer Agreement as DIRECTV does here, which purportedly covers:



Footnote continued from previous page
(received agreement); Brown v. DIRECTV, LLC, 2013 WL 3273811, at *4 (C.D. Cal. June 26,
2013) (received agreement); Murphy v. DIRECTV, Inc., 2011 WL 3319574, at *2 (C.D. Cal.
Aug. 2, 2011) (evidence showed that plaintiffs received agreements); Truitt v. DIRECTV, Inc.,
2008 WL 5054570, at *3 (E.D. La. Nov. 21, 2008) (received agreement); and Bischoff v.
DIRECTV, Inc., 180 F. Supp. 2d 1097, 1103-06 (C.D. Cal. 2002) (received agreement)).



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      (1) “claims arising out of or relating to any aspect of the relationship
      between us, whether based in contract, tort, statute, fraud,
      misrepresentation or any other legal theory”; (2) “claims that arose
      before this or any prior Agreement (including, but not limited to,
      claims relating to advertising)”; (3) “claims that are currently the
      subject of a purported class action litigation in which you are not a
      member of a certified class”; and (4) “claims that may arise after the
      termination of this Agreement.”
Compare id. at 501 with Dkt. 154-2 at Ex.4, § 9.2. Wexler found that “absurd

results” would ensue from enforcing a clause so untethered to the agreement. Id. at

503 (“If Wexler were hit by a Mobility delivery van, or if she tripped over a

dangerous condition in a Mobility store, her tort claim would have to go to

arbitration . . . . And since the arbitration clause purports to survive termination of

the underlying service agreement, this obligation to arbitrate any claim whatsoever

against Mobility would last forever.”).

      Other courts have refused to enforce arbitration clauses that are untethered to

the underlying agreements. In Smith v. Steinkamp, Judge Posner found that

“absurd results” would occur if the scope of an arbitration clause were read as

standing free from the underlying loan agreement. 318 F.3d 775, 777 (7th Cir.

2003). For example, he took issue with the possibility that the clause could cover a

wrongful death suit or conversion claim for defendant picking plaintiff’s pocket.

Id. In In re Jiffy Lube Int’l, Inc. Text Spam Litig., the court found that an

arbitration clause that purported to apply to “any and all disputes” between the

parties would “clearly be unconscionable” if it were to be applied to a “tort action


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arising from a completely separate incident.” 847 F. Supp. 2d 1253, 1263 (S.D.

Cal. 2012).

      The same absurdity arises here. DIRECTV litigated this case for nearly

three years prior to filing this motion. Mr. Romero’s STELA claim is based

entirely on DIRECTV’s conduct in this litigation in disclosing his private

information. It has nothing to do with any product or service DIRECTV provided,

and therefore bears no relationship to anything arising under the Customer

Agreements. DIRECTV’s argument furthers neither the purpose nor structure of

the FAA or basic rules of contract interpretation. First Options, 514 U.S. at 943

(arbitration “is a way to resolve those disputes-but only those disputes-that the

parties have agree to submit to arbitration.”).

      As Wexler stated with respect to the very same language, “if a company

wishes to bind its customers to something broader, it must take steps to secure

something that a reasonable person would understand as an objective expression of

his or her agreement.” Wexler, 211 F. Supp. 3d at 504. Absent this clear

expression, Wexler found there was no mutual intent and denied AT&T’s motion

to compel arbitration. Id. This same result is appropriate here.

      Nor does DIRECTV’s attempt to force Mr. Romero into arbitration jibe with

basic notions of fairness or Due Process. Having violated Mr. Romero’s rights

(and those of some 9,100 others) in this litigation, wholly untethered to its



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provision of any product or service or anything else even arguably arising under

the Customer Agreements, it would be manifestly unfair (and inefficient) to allow

it to force those claims out of court and into individual arbitration.

      B.     The STELA Claims Based on DIRECTV’s Conduct in this
             Litigation Are Beyond the Scope of the Arbitration Clause.
      Before enforcing an arbitration clause, the Court must “determin[e] whether

the parties agreed to arbitrate the dispute in question.” Holcombe v. DIRECTV,

LLC, 159 F. Supp. 3d 1337, 1340 (N.D. Ga. 2016). Even if the Court finds that

Mr. Romero agreed to any arbitration clause with DIRECTV, his claims are not

within the scope of DIRECTV’s arbitration clauses because: (1) the plain terms of

that clauses cannot be read to encompass claims that do not relate to the parties’

agreement; (2) courts have consistently refused to include claims like STELA that

only tangentially relate to the arbitration agreement; (3) DIRECTV’s personal data

clause is mandated by STELA and does not broaden the scope of the Customer

Agreement; and (4) the only agreement Mr. Romero could have agreed to—the

2014 Customer Agreement—expressly does not cover STELA claims or claims

under the Communications Act of 1934.

           1. The Plain Terms of the 2014, 2015, and 2016 Customer Agreements
              Cannot Be Read to Include STELA Claims.

      As the Wexler decision makes clear, DIRECTV’s 2016 arbitration clause is

so broad that it cannot evidence the formation of a contract, at least with respect to




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matters beyond the scope of the customer agreement containing that clause. 211 F.

Supp. 3d at 504. As discussed above, this alone justifies denying DIRECTV’s

motion. At a minimum, Wexler mandates that the scope of a contract must be

judged by what a “reasonable person” would understand it to mean. Id. At most,

Wexler found that the same language should be limited to claims “connected in

some way to the service agreement.” Id. Moreover:

      [E]ven if the Court were inclined to infer a limitation to disputes
      arising from or related to Wexler’s former service agreement with
      Mobility, such a limitation would not benefit AT&T. Wexler’s claim
      is that AT&T unlawfully left her voicemails and sent her text
      messages. The only connection to Mobility is that Wexler’s phone is
      on Mobility’s network. In the Court’s opinion, that happenstance
      does not mean, in any reasonable sense, that the voicemails and text
      messages arose out of or are related to Wexler’s former service
      agreement with Mobility. Id. at 503-04.

      Mr. Romero’s STELA claim based on DIRECTV’s litigation conduct is in

no way connected to any customer service agreement with DIRECTV. Each of the

2014, 2015, and 2016 Customer Agreements plainly state that it “DESCRIBES

THE TERMS AND CONDITIONS OF YOUR RECEIPT OF AND PAYMENT

FOR DIRECTV SERVICE.” See Dkt. 154-2, Exs. 2-4. Disclosing Mr. Romero’s

personal information to a third party to defend itself in litigation obviously does

not relate to “receipt of and payment for DIRECTV service” or connect Mr.

Romero’s STELA claim to any customer agreement. Because the DIRECTV

service agreements concern only receiving and paying for DIRECTV service—



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nothing more—Mr. Romero’s STELA claim is beyond the scope of any agreement.

          2. Courts Have Refused to Broaden the Scope of Arbitration Agreements
             to Include Unrelated Consumer Privacy Violations.

      DIRECTV’s argument that the arbitration clauses are all-encompassing

regardless of whether it has any logical relationship to the parties’ actual

agreement for receipt and payment for TV services is wrong. The Eleventh

Circuit, this District, and other courts have rejected other defendants’ attempts to

broaden consumer agreements in this fashion.

      Mr. Romero’s STELA claims are on all fours with the TCPA claims in

Holcombe. There, Judge May denied DIRECTV’s motion to compel arbitration

and found that DIRECTV’s alleged conduct (robocalling a former subscriber about

signing back up for DIRECTV service) was beyond the scope of DIRECTV’s

arbitration clause. Holcombe, 159 F. Supp. 3d at 1344. The court limited

DIRECTV’s arbitration clause to the terms of its relationship with the consumer.

Id. In other words, it found that DIRECTV’s use of a consumer’s information in a

manner that allegedly violated his privacy rights —i.e. robocalling his telephone

number—fell beyond the scope of the arbitration clause. Id. Because the facts

here are little different from Holcombe, DIRECTV simply asserts that Holcombe

was “wrongly decided.” See Mot. at 21. That assertion is incorrect. DIRECTV’s

use of consumer information in a manner that violates STELA’s requirements does

not fall within the scope of any arbitration clause.


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      The Eleventh Circuit recently rejected a defendant’s argument that TCPA

claims could be encompassed by a broad arbitration clause addressing any “claim,

dispute or controversy…whether preexisting, present or future, that in any way

arises from or relates to this Agreement.” Gamble, 2018 WL 2446607, at *1. The

Eleventh Circuit stated that “Ms. Gamble signed an agreement whereby

[Defendant] NEAF promised to provide her with the necessary funds to purchase

an automobile on a particular date, in exchange for her promise to pay NEAF

back—with interest—by a later date. The Arbitration Provision only applies to

disputes arising out of, or related to, this agreement.” Id. at *2; see also Telecom

Italia, SpA v. Wholesale Telecom Corp., 248 F.3d 1109, 1116 (11th Cir. 2001)

(“Disputes that are not related-with at least some directness-to performance of

duties specified by the contract do not count as disputes ‘arising out of’ the

contract, and are not covered by the standard arbitration clause.”). Similarly, Mr.

Romero’s STELA claims do not arise out of any customer agreement. As the

Eleventh Circuit made clear, a mere tangential relationship between the

defendant’s violation of a federal statute and the parties’ agreement does not bring

the former with the scope of the latter.

      Finally, the argument that “but for” Mr. Romero being a DIRECTV

subscriber, DIRECTV would not have obtained his information and thus been able

to violate STELA has been rejected by courts in similar contexts. In In re Jiffy



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Lube, the court rejected the argument that but for plaintiff providing his telephone

number when signing a contract, he would not have a TCPA claim. 847 F. Supp.

2d at 1263. It said: “The existence of the original contract may have been the ‘but

for’ cause of the alleged TCPA violation, but this alone is not necessarily enough

to establish that the claim arises out of or relates to the contract.” Id.; see also

Wagner v. Discover Bank, No. 12-cv-02786-MSK-BNB, 2014 WL 128372, at *5

(D. Colo. Jan. 13, 2014) (TCPA claim does not fall under arbitration clause even

though “existence of the Account may have been the ‘but for’ cause of the alleged

violations, that is not enough to establish that the claims arise from or relate to the

Account or the parties’ relationship resulting from the Account.”). This Court has

already recognized the disconnect between DIRECTV’s STELA violations and its

customer service agreements with Mr. Romero, when it held that accepting

DIRECTV’s construction of STELA “would allow them to characterize nearly any

activity as ‘necessary to render, or conduct a legitimate business activity related to,

a satellite or other service’” provided by DIRECTV. STELA Order at 18.

          3. DIRECTV’s “Personal Data” Section Does Not Bring STELA Claims
             Within the Scope of the Arbitration Provisions.

      DIRECTV’s argument that the “Personal Data” section of its Customer

Agreements “governs” the STELA claim is incorrect because STELA requires

satellite carriers such as DIRECTV to provide notice if they collect personal data.




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Mot. at 18-19. 8 Under STELA, “a satellite carrier shall provide notice in the form

of a separate, written statement to such subscriber which clearly and conspicuously

informs the subscriber of—(A) the nature of personally identifiable information

collected or to be collected with respect to the subscriber and the nature of the use

of such information; (B) the nature, frequency, and purpose of any disclosure

which may be made of such information…” 47 U.S.C. § 338(i)(1). DIRECTV’s

Customer Agreements accordingly state that it ‘collect[s] personally identifiable

information about [its] customers… The use and disclosure of this Personal Data is

governed by our Privacy Policy… .” Dkt. 154-2, Exs. 2-4 § 6. DIRECTV being

required by STELA to provide this notice does not convert a contract for receipt of

and payment for DIRECTV services into an express agreement permitting data

collection, nor does it bring DIRECTV’s subsequent use of personal data in

litigation within the arbitration clause. Rather, the Customer Agreements relate

only to the receipt of and payment for DIRECTV’s services. Id. Federal law

requiring DIRECTV to provide notice of data collection does not immunize

DIRECTV or mandate arbitration.




8
  DIRECTV argues that “resolving Mr. Romero’s TCPA claims” also falls under the Customer
Agreement. Mot. at 19-20. Mr. Romero does not bring a TCPA claim. Rather, Mr. Cordoba,
who is not a DIRECTV customer, Third Amended Complaint, Dkt. 143, ¶ 60, has two TCPA
causes of action. Id. ¶¶ 122 (“Plaintiff Cordoba re-alleges…”), 139 (same).



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         4. In the Alternative, Mr. Romero’s STELA Claim is Outside the Scope
            of the Operative 2014 Customer Agreement.

      Mr. Romero’s STELA claim also is outside the scope of the arbitration

clause of the 2014 Customer Agreement.

      The 2014 Customer Agreement requires DIRECTV to send subscribers a

“copy of [their] new Customer Agreement containing its effective date.” Dkt. 154-

2, Ex. 2 § 4. As detailed supra, DIRECTV offers no specific proof that Mr.

Romero ever received a copy of the 2015 or 2016 Customer Agreements. At most,

DIRECTV points to the broad assertion that it emailed updated Customer

Agreements to all customers or mailed the agreement if the customer did not have

a valid email or had chosen not to receive emails from DIRECTV. Lateef Decl.,

Dkt. 70-7 ¶¶ 4-6. The acceptance of subsequent terms and conditions is

specifically tied to receiving the new Customer Agreement. Dkt. 154-2, Ex. 2 § 4

(“If you elect not to cancel your Service after receiving a new Customer

Agreement, your continued receipt of Service constitutes acceptance of the

changed terms and conditions.”) (emphasis added). Without receiving the new

Customer Agreement, there is no acceptance of the changed terms and conditions.

      In similar circumstances, the Maryland Court of Special Appeals and Court

of Appeals both held that the prior customer agreement governed, not the updated

DIRECTV customer agreement. In Mattingly v. Hughes Electronics Corp., the

Maryland Court of Special Appeals held that a plaintiff did not assent to an


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updated DIRECTV Customer Agreement containing an arbitration clause where he

was not given the contractually mandated notice of the new agreement. 147 Md.

App. at 636. The court held that “DIRECTV agreed that Mattingly would be

bound by any changes that it made to the 1996 Agreement only if DIRECTV gave

him some sort of written notice advising him about a particular change, and

identifying that change clearly enough that he could find and review it in the

revised agreement.” Id. The Court of Appeals affirmed the Maryland Court of

Special Appeals holding that “As respondent was not given the proper notice of the

changes to his initial customer agreement with petitioner, respondent could not

have constructively assented to the arbitration provision…and thus the terms of the

initial customer agreement, without an arbitration provision, control.” DIRECTV,

Inc. v. Mattingly, 829 A.2d 626, 635 (Md. 2003). The same result holds true

here—Mr. Romero had a contractual right to receive the 2015 Customer

Agreement and 2016 Customer Agreement in order to be deemed to have assented

to their new terms. Because DIRECTV fails to prove it provided Mr. Romero with

the 2015 and 2016 Customer Agreements, he cannot have accepted the changed

terms and conditions in those agreements.

      The failure to notify Mr. Romero is key because the STELA claim plainly

falls outside of the narrower 2014 Customer Agreement arbitration clause. That

clause is explicitly limited to “any legal or equitable claim relating to this



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Agreement.” Dkt. 154-2, Ex. 2 § 9. 9 As discussed in detail above, STELA claims

do not relate to Mr. Romero’s agreement.

       Moreover, the 2014 clause specifically makes an exception for “any dispute

involving a violation of the Communications Act of 1934.” Id. Since STELA is

section 338 of the Communications Act, Mr. Romero’s claim is explicitly exempt.

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628

(1985) (holding that parties can “exclude[e] statutory claims from the scope of an

agreement to arbitrate”). 10 Accordingly, because the 2014 Customer Agreement is

the only agreement that DIRECTV could possibly enforce against Mr. Romero,

and its arbitration clause does not possibly include STELA claims, DIRECTV’s

motion must be denied for that independent reason.

       C.     The Arbitration Clauses Are Procedurally and Substantively
              Unconscionable.
       The FAA preserves state-law grounds for the revocation of any contract,

including unconscionability. See, e.g., In re Checking Account, 685 F.3d at 1276-

79 (post-Concepcion). Under Maryland law, courts look for “‘extreme unfairness’

which is made evident by “(1) one party’s lack of meaningful choice, and (2)
9
  The 2015 clause is also limited to “any legal or equitable claim relating to this Agreement.”
Dkt. 154-2, Ex. 3 § 9. As explained above, the terms of the 2016 Customer Agreement must
relate to the agreement with Mr. Romero to avoid “absurd results.”
10
   Even if DIRECTV argues that the 2014 Customer Agreement only excludes claims under
Section 605 of the Communications Act, the agreement’s language is at best ambiguous and
should be construed against DIRECTV, the unilateral drafter. See Functional Products Trading,
S.A. v. I-Grain, LLC, 12-CV-0355-JEC-AJB, 2012 WL 13013592, at *12 (N.D. Ga. Mar. 19,
2012) (“one must construe ambiguous contract provisions against the drafter”).



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contractual terms that unreasonably favor the other party.” Walther v. Sovereign

Bank, 872 A.2d 735, 743 (Md. 2005) (quoting BLACK’s LAW DICTIONARY

1560 (8th ed. 2004)). Under Maryland law, a “contract is unconscionable only if it

is both procedurally and substantively unconscionable.” Mould v. NJG Food Serv.

Inc., 986 F. Supp. 2d 674, 678 (D. Md. 2013) (post-Concepcion).

          1. The Arbitration Clauses Are Procedurally Unconscionable.

      DIRECTV arbitration clauses with Mr. Romero are procedurally

unconscionable because they are contracts of adhesion. The Customer Agreements

were unilaterally drafted by DIRECTV, in DIRECTV’s favor, and Mr. Romero

had no opportunity to negotiate their terms. In fact, DIRECTV’s 2014, 2015, and

2016 Customer Agreements explicitly state that “If you notify us that you do not

accept such terms and conditions, then we may cancel your Service as provided for

in Section 5, as we cannot offer Service to different customers on different terms,

among other reasons.” Dkt. 154-2, Ex. 3 § 4; see also id. at Ex. 4 § 4 (same). By

definition, DIRECTV made Mr. Romero a take-it-or-leave-it offer.

      Under Maryland law, “a finding that a contract is one of adhesion is

sufficient to establish procedural unconscionability.” Mould, 986 F. Supp. 2d at

678 (citing Walther, 872 A.2d at 746-47). Because DIRECTV, the dominant party,

drafted this contract and presented it on a take-it-or-leave-it basis, the arbitration

clauses are procedural unconscionable. See Jones v. Genius Credit Mgmt. Corp.,



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353 F. Supp. 2d 598, 601 (D. Md. 2005).

           2. The Arbitration Clauses Are Substantively Unconscionable.
      The arbitration clauses’ absurd overbreadth renders them substantively

unconscionable. As Jiffy Lube held, “a suit by [plaintiff] against [defendant]

regarding a tort action arising from a completely separate incident could not be

forced into arbitration—such a clause would clearly be unconscionable.” 847 F.

Supp. 2d at 1263 (post-Concepcion); Smith, 318 F.3d at 777-78.

      Because DIRECTV’s arbitration clauses are procedurally and substantively

unconscionable, they cannot be enforced and the motion must be denied.

      D.      This Litigation Should Not Be Stayed Pending DIRECTV’s
              Motion.
      Under Eleventh Circuit precedent, motions to stay pending the outcome of a

motion to compel arbitration are only appropriate where the arbitration motion is

“clearly meritorious.” Kennedy v. Compucredit Holdings Corp., 3:12-cv-1128-J-

25TEM, 2013 WL 12157869, at *2 (M.D. Fla. Feb. 28, 2013); see also Eternal

Strategies, LLC, 2017 WL 7311849, at *2. Because Defendant’s motion to compel

is not clearly meritorious—nor meritorious at all—there is no basis to stay

discovery pending the Court’s resolution of this motion. The reasoning of the

Court’s order denying DIRECTV’s stay request remains sound. See Dkt. 151.

V.    CONCLUSION

      For the foregoing reasons, DIRECTV’s Motion should be DENIED.



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                                     Respectfully submitted,

Dated: July 19, 2018                 LIEFF CABRASER HEIMANN
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                      CERTIFICATE OF COMPLIANCE

     I hereby certify, pursuant to Local Rules 5.1.C and 7.1.D of the Northern

District of Georgia, that the foregoing PLAINTIFFS’ OPPOSITION TO

DIRECTV’S MOTION TO COMPEL ARBITRATION AND TO STAY

LITIGATION was prepared in 14-point Times New Roman Font.

     July 19, 2018.


                                     /s/ Daniel M. Hutchinson
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                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I caused the foregoing PLAINTIFFS’

OPPOSITION TO DIRECTV’S MOTION TO COMPEL ARBITRATION AND

TO STAY LITIGATION to be electronically filed with the Clerk of the Court

using the CM/ECF system, which will automatically send notification of such

filing to all attorneys of record.

      July 19, 2018.


                                     /s/ Daniel M. Hutchinson
